Case 2:04-cV-02163-STA-tmp Document 89 Filed 06/02/05 Page 1 of 4 Page|D 119

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IN THE UNITED STATES DISTRICT COURT L\#H““”LD

 

FOR THE WESTERN DISTRICT OF TENNESSEE OSJUH_ BH 2: 2
WESTERN DIVISION 7
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GREEAR TREW,

 

Plaintiff,

'V'B.

Civ. No. 04-2163-B[P

AMERICAN INSTITUTE OF
INTRADERMAL COSMETICS, INC.
and CLARIANT CORPORATION,

Defendants.

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ORDER GRANTING MOTION FOR LEAVE TO WITHDRAW AS COUNSEL

 

Pursuant to Motion for Leave to Withdraw as Counsel for
American Institute of Intradermal Cosmetics, Inc. (“AIIC”) filed by
Leo Bearman, Jr., Esq., Jill M. Steinberg, Esq., Marianne Bell
Matthews, Esq., and law firm of Baker, Donelson, Bearman, Caldwell
& Berkowitz, P.C., this Court finds that their Motion for Leave to
Withdraw as Counsel is well taken and should be granted.

IT IS, THEREFORE, ORDERED, ADJUDGED, AND DECREED that the
Motion for Leave to Withdraw as Counsel is GRANTED, and Leo
Bearman, Jr., Esq., Jill M. Steinberg, Esq., Marianne Bell
Matthews, Esq., and law firm of Baker, Donelson, Bearman, Caldwell
& Berkowitz, P.C., are hereby granted leave to Withdraw as counsel

for Defendant AIIC. Counsel shall forward a copy of this order to

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With Ru|e 58 and/or 79(3) )FRCP on cgl

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AIIC and corporate counsel. AIIC shall have thirty (30) days to

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TU M. PHAM
United States Magistrate Judge

retain new counsel.

IT IS SO ORDERED.

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UNTED sTATES DISTRCT COURT - WESTERNDISTCTRI oFTi\iNEESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 89 in
case 2:04-CV-02163 Was distributed by faX, mail, or direct printing on
.1 une 6, 2005 to the parties listed.

 

 

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Honorable .1. Breen
US DISTRICT COURT

